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                    Exhibit 1
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                                                              EXECUTION VERSION




                           TRANSITION SERVICES AGREEMENT

                                           among

                              RESURGENT HOLDINGS LLC,

                          RESURGENT CAPITAL SERVICES L.P.,

                    SQUARETWO FINANCIAL SERVICES CORPORATION

                                            and

                            THE DEBTORS’ REPRESENTATIVE



                                  Dated as of March 3, 2017




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                                  TRANSITION SERVICES AGREEMENT

                This TRANSITION SERVICES AGREEMENT (as amended, restated, supplemented
        and/or otherwise modified from time to time, this “Agreement”) is dated as of March 3, 2017,
        by and among Resurgent Holdings LLC, a Delaware limited liability company, as the Buyer,
        Resurgent Capital Services L.P., a Delaware limited partnership, as the Master Servicer,
        SquareTwo Financial Services Corporation (d/b/a Fresh View Solutions), a Delaware
        corporation, as the Service Provider, and the Plan Administrator or other authorized
        representative of Wind Down Co or the Dissolving Debtors, as applicable (the “Debtors’
        Representative”). Capitalized definitional terms not otherwise defined herein have the
        respective meanings set forth in the Plan (as defined below) or, if not defined therein, in the Plan
        Funding Agreement (as defined below).

                                                   RECITALS

                A.     Astrum Financial, LLC; Autus, LLC; CA Internet Marketing, LLC; CACH, LLC
        d/b/a Fresh View Funding; CACV of Colorado, LLC; CACV of New Jersey, LLC; Candeo,
        LLC; CCL Financial Inc.; Collect Air, LLC; Collect America of Canada, LLC; Healthcare
        Funding Solutions, LLC; Metropolitan Legal Administration Services, Inc.; Orsa, LLC;
        Preferred Credit Resources Limited; ReFinance America, Ltd.; SquareTwo Financial Canada
        Corporation; SquareTwo Financial Corporation; and SquareTwo Financial Services Corporation
        d/b/a Fresh View Solutions (together, the “Debtors”) intend to file voluntary petitions for relief
        (the “Bankruptcy Cases”) under chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§
        101 et seq. (the “Bankruptcy Code”), in the United States Bankruptcy Court for the Southern
        District of New York (the “Bankruptcy Court”); and commence recognition proceedings under
        Part IV of the Companies’ Creditors Arrangement Act (the “Canadian Cases”), in the Ontario
        Superior Court of Justice (the “Canadian Court”).

                 B.      This Agreement is entered into contemporaneously with the execution and
        delivery of a Plan Funding Agreement dated as of the date hereof (as the same may be amended,
        restated, supplemented and/or otherwise modified from time to time, the “Plan Funding
        Agreement”), pursuant to which SquareTwo agrees, subject to Bankruptcy Court approval, to
        sell, transfer, assign, convey and deliver to Buyer, and Buyer agrees to purchase, acquire and
        accept from SquareTwo, the Reorganized Entities Interests (the “Acquisition”).

               C.       In connection with the Acquisition, Buyer and SquareTwo desire that the Service
        Provider provide, or (subject to the terms of this Agreement) cause an Affiliate or third-party
        service provider or subcontractor to provide, Buyer and its Affiliates with certain transition
        services as set forth herein.

               D.       Master Servicer is an Affiliate of Buyer, engaged to provide management services
        with regard to the accounts acquired by Buyer under the terms of the Plan Funding Agreement.

                                         TERMS AND CONDITIONS

               NOW, THEREFORE, in consideration of the foregoing recitals and the mutual covenants
        and agreements contained in this Agreement and the Plan Funding Agreement, and other good


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        and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the
        parties hereto agree as follows:

        1.       DEFINITIONS

                 1.1    “Accounts” means the Serviced Accounts Receivable.

              1.2    “Acquired Assets” means, collectively, the Accounts and any other assets listed
        on Annex A hereto, subject to any exclusions as may be specified on Annex A hereto.

                 1.3    “Acquisition” has the meaning specified in the Recitals to this Agreement.

                 1.4    “Alternative Work Space” has the meaning specified in Section 1.18 hereto.

                 1.5    “Bankruptcy Cases” has the meaning specified in the Recitals to this Agreement.

                 1.6    “Bankruptcy Court” has the meaning specified in the Recitals to this Agreement.

              1.7    “Bankruptcy Proceedings” means, collectively, the Bankruptcy Cases and the
        Canadian Cases.

                1.8    “Buyer” means Resurgent Holdings LLC, a Delaware limited liability company,
        or any assignee thereof in accordance with Section 10.3 of the Plan Funding Agreement.

                 1.9    “Canadian Cases” has the meaning specified in the Recitals to this Agreement.

                 1.10   “Canadian Court” has the meaning specified in the Recitals to this Agreement.

                 1.11   “Debtors” has the meaning specified in the Recitals to this Agreement.

               1.12 “Debtors’ Representative” has the meaning specified in the introductory
        paragraph to this Agreement.

                1.13 “Excluded Services” means any services other than those listed, identified or
        specifically referenced on Annex B or otherwise mutually agreed upon in writing by the Master
        Servicer and the Service Provider.

                 1.14   “Force Majeure Event” has the meaning set forth in Section 8.14.

                1.15 “Indirect Taxes” means value added taxes, sales taxes, consumption taxes and
        other similar Taxes.

                1.16 “Losses” means any claims, damages, penalties, fines, judgments, awards,
        settlements, costs, fees (including reasonable and documented investigation fees), expenses
        (including reasonable and documented attorneys’ fees) and disbursements.

               1.17     “Master Servicer” means Resurgent Capital Services L.P., a Delaware limited
        partnership.


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                1.18 “Master Servicer-Related Losses” means any Losses to the extent such Losses are
        (a) caused by the gross negligence, willful misconduct, fraud, misrepresentation or bad faith of
        the Master Servicer or any of its Affiliates in connection with this Agreement or the fulfillment
        of any obligations hereunder, (b) caused by any breach by the Master Servicer of this
        Agreement, (c) caused by the failure of the Master Servicer or an Affiliate thereof to lease or
        otherwise procure the rights to utilize the Premises or any other commercially reasonable
        commercial or office space to be utilized in providing the Transition Services hereunder (any
        such space, “Alternative Work Space”), (d) caused by the transition of any operations of
        SquareTwo (including the Reorganized Entities or Acquired Subsidiaries) from the Premises to
        any Alternative Work Space at the direction of the Master Servicer, if applicable (a “Work Space
        Transition”), (e) caused by compliance with any written request by or written instruction from
        the Master Servicer referencing this Agreement and specifically stating that any Transition
        Service be provided in any manner other than the Services Standard, (f) related to any real or
        personal property lease assumed by the Service Provider or any of its Affiliates at the direction
        of the Master Servicer pursuant to the Plan and associated with the performance of the Transition
        Services, excluding any such Losses attributable to the period prior to the Closing Date, it being
        understood that this clause (f) shall be without duplication of costs within the scope of
        Section 3.2 or (g) related to any conflict with the rights of any third party arising from the
        Service Provider’s or any of its Affiliates’ utilization of the license granted pursuant to
        Section 3.9 in accordance with this Agreement to perform the Transition Services.

                 1.19   “Maximum Fee” has the meaning specified in Section 3.1 of this Agreement.

              1.20      “Out-of-Pocket Costs” has the meaning specified in Section 3.2.3 of this
        Agreement.

                 1.21   “Payments” has the meaning set forth in Section 3.10.1 of this Agreement.

               1.22 “Plan” means the Joint Prepackaged Chapter 11 Plan for SquareTwo Financial
        Services Corporation and its Affiliated Debtors (as amended, modified or supplemented from
        time to time in accordance with its terms, a copy of which is attached as Exhibit A to the
        Restructuring Support Agreement).

              1.23      “Plan Funding Agreement” has the meaning specified in the Recitals to this
        Agreement.

                 1.24   “Proceeding” has the meaning specified in Section 8.11 of this Agreement.

               1.25 “Premises” means the premises located at 6300 South Syracuse Way, Centennial,
        Colorado 80111, which are currently subject to that certain Office Lease, effective June 24,
        2016, as amended October 20, 2016, by and between AB/SW Cascades Owner, LLC and
        SquareTwo.

                1.26    “Service Provider” means (i) SquareTwo Financial Services Corporation (d/b/a
        Fresh View Solutions), a Delaware corporation, (ii) Wind Down Co and (iii) any successor
        thereto resulting from the Bankruptcy Proceedings.



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                1.27 “Service Provider-Related Losses” means any Losses to the extent such Losses
        are caused by (a) the gross negligence, willful misconduct, fraud, misrepresentation or bad faith
        of the Service Provider or any of its Affiliates, subcontractors or third-party service providers in
        connection with this Agreement, the performance of any of the services contemplated by this
        Agreement or the fulfillment of any other obligations hereunder, (b) any breach by the Service
        Provider of this Agreement (including any failure by any of its Affiliates, subcontractors or third-
        party service providers to perform the Service Provider’s obligations in accordance with this
        Agreement), or (c) the inaccuracy of any representation or warranty made by the Service
        Provider in this Agreement. For the avoidance of doubt, Service Provider-Related Losses will
        not include, and neither Service Provider nor any of its Affiliates will be liable for, any losses,
        costs, fees or expenses that are caused by, the result of, or are related to (i) the Master Servicer’s
        or any of its Affiliates’ failure to lease or procure the use of the Premises or any Alternative
        Work Space or a Work Space Transition, if applicable or (ii) the failure of the Master Servicer to
        either approve or disapprove an Out-of-Pocket Cost within the timeframe contemplated by
        Section 3.2.3 or to fund an Out-of-Pocket Cost (that the Master Servicer has approved) in
        accordance with Section 3.2.3.

                1.28 “Services Standard” means for both (a) the performance of the activities
        necessary to service the Accounts and (b) the performance of the other Transition Services, the
        performance thereof: (i) in accordance with applicable law, and (ii) consistent with the level of
        efficaciousness, results and quality of services provided by the Service Provider with respect to
        its accounts and related receivables for the six months prior to the date of this Agreement.
        Notwithstanding the preceding, the parties acknowledge and agree that certain activities
        (including, without limitation, outbound collection calls) shall not be required to be performed
        under this Agreement with the same frequency or under the same conditions as they may have
        been performed prior to the date of this Agreement, provided that such changes are described in
        Schedule 1.28 hereto or otherwise approved in writing by the Master Servicer which consent
        shall not be unreasonably withheld, conditioned or delayed. The Services Standard shall be
        deemed modified accordingly as to the performance of any such activities.

                 1.29   “SquareTwo” means SquareTwo Financial Corporation, a Delaware corporation.

                 1.30   “Transition Period” has the meaning specified in Section 2.1 of this Agreement.

               1.31 “Transition Services” means all of the services listed, identified or referenced on
        Annex B and any other additional services that may be mutually agreed to in writing by Master
        Servicer and the Service Provider from time to time.

                 1.32   “Wind Down Co” shall have the meaning set forth in the Plan.

        Unless the context requires otherwise, (i) any definition of or reference to any agreement,
        instrument or other document shall be construed as referring to such agreement, instrument or
        other document as from time to time amended, restated, supplemented and/or otherwise
        modified, and (ii) any reference to any Person shall be construed to include such Person’s
        successors and assigns (subject to any restrictions on assignments set forth herein or in any
        related document).



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              1.33     “Work Space Transition” has the meaning specified in Section 1.18 of this
        Agreement.

        2.       PROVISION OF SERVICES

                2.1     Services During the Transition Period. Buyer and Master Servicer acknowledge
        that the Service Provider is not in the business of providing services to third parties and is
        entering into the Agreement only in connection with the Plan Funding Agreement. Subject to the
        terms and conditions of this Agreement, the Service Provider shall provide the Transition
        Services to the Buyer and its Affiliates (including the Master Servicer) in accordance with the
        Services Standard during the period (the “Transition Period”) that shall commence on the
        Closing Date and shall, with respect to each particular Transition Service, continue for the period
        of time shown on Annex B for that particular Transition Service, unless earlier terminated in
        accordance with Section 2.2. The Service Provider shall not be obligated to perform any
        Transition Service in any manner other than the Services Standard that may be requested or
        instructed by the Master Servicer. The Transition Period with respect to any specific Transition
        Service may be extended by written agreement of all of the parties hereto. From the Closing
        Date until the end of the Transition Period with respect thereto, the Service Provider shall service
        (or cause its Affiliates to service) the Accounts in accordance with the Services Standard and as
        described in Annex B. Under no circumstances shall Service Provider, its Affiliates or its or
        their respective employees or agents be held accountable to a greater standard of care, effort or
        skill under this Agreement than the Services Standard. For the avoidance of doubt, the
        Transition Services do not include, and the Service Provider shall have no obligation to provide,
        any Excluded Service, nor shall the Service Provider be obligated to provide or cause to be
        provided any Transition Services for the benefit of any Person other than Buyer, Master Servicer
        and their respective Affiliates.

                2.2     Phase Out or Termination of Transition Services. The parties hereto acknowledge
        the transitional nature of the Transition Services. Accordingly, as promptly as reasonably
        practicable following the Closing Date, the Master Servicer shall use commercially reasonable
        efforts to make a transition of each Transition Service to its own internal organization or to
        obtain alternate third-party sources to provide the Transition Services. For the avoidance of
        doubt, if the Master Servicer cannot or does not make a transition of any Transition Service to
        the Master Servicer’s own internal organization prior to the expiration of the applicable
        Transition Period for such service, neither the Service Provider nor any of its Affiliates will be
        required to provide such Transition Service beyond the termination of such Transition Period
        unless otherwise agreed to in writing by the Service Provider. Master Servicer shall have the
        right to direct that any or all of the Transition Services be terminated effective on a date
        established by the Master Servicer that is prior to the termination date for such Transition
        Service shown on Annex B. Such termination will be effective no earlier than ten (10) Business
        Days after written notice of termination is received by the Service Provider, unless the Service
        Provider consents in writing to a shorter period.

                2.3    No Rejection. This Agreement may not be rejected in the Bankruptcy
        Proceedings without the express written consent of the Master Servicer. The Master Servicer
        shall have no obligation to consent to such rejection, and may do so in its sole discretion.


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                2.4    Support by Debtors. Each of the Debtors shall provide such information,
        cooperation and other support as is necessary for the Service Provider to perform all of its
        obligations under this Agreement from time to time.

                2.5    Delivery of Services by Affiliates, Third Parties and Subcontractors. The Service
        Provider may engage one or more of its Affiliates, third-party service providers and/or
        subcontractors for the purpose of providing the Transition Services; provided, however, that
        (a) the Service Provider shall remain responsible for the performance of the Transition Services
        in accordance with this Agreement notwithstanding the engagement of any such Person; and
        (b) any such third-party service provider or subcontractor that is not an Affiliate of the Service
        Provider and does not provide such service to the Service Provider as of the date hereof shall be
        subject to the Master Servicer’s prior written consent, not to be unreasonably withheld,
        conditioned or delayed.

               2.6     Incorporation by Reference. All provisions of the Plan and the Plan Funding
        Agreement related to Transition Services, including Section 2.3(b) of the Plan Funding
        Agreement and Section 7.13 of the Plan, as defined therein, are hereby incorporated by reference
        herein mutatis mutandis.

        3.       PAYMENT FOR SERVICES; RESOURCES APPLIED

                3.1    Maximum Fee. The maximum aggregate amount payable by the Master Servicer
        to the Service Provider for the Transition Services provided under the terms of this Agreement,
        including Taxes, Indirect Taxes and Master Servicer-Related Losses paid pursuant to
        Section 7.1, shall not exceed sixteen-million two-hundred-ninety-one-thousand dollars
        ($16,291,000) (the “Maximum Fee”), unless the Master Servicer and the Service Provider
        mutually agree in writing to a higher amount, including pursuant to Section 3.7 or Section 3.8.

               3.2    Monthly Fees; Out-of-Pocket Costs. Subject to the Maximum Fee (except to the
        extent provided otherwise in Section 3.2.3(b) below with respect to Out-of-Pocket Costs and as
        such Maximum Fee may be amended pursuant to Section 3.7 or Section 3.8), the following
        amounts shall be payable by the Master Servicer to the Service Provider in consideration of the
        performance of the Transition Services hereunder:

                       3.2.1 An administrative fee in the fixed amount of one-hundred-fifty-thousand
        dollars ($150,000) each month during the Transition Period to cover all overhead and operating
        costs associated with providing the Transition Services.

                      3.2.2 The amount of the “personnel costs” incurred by the Service Provider to
        employ each of the employees as included in Annex C; provided that:

                       (i)      the Master Servicer may require the Service Provider to terminate (and the
        Service Provider shall, on the date directed by the Master Servicer, terminate) any one or more
        person(s) shown in Annex C prior to the applicable termination date so long as (a) the Service
        Provider does not reasonably object thereto on the basis that it will adversely impact the Service
        Provider’s ability to provide the applicable Transition Service(s) in accordance with the Services
        Standard; and (b) such early termination complies with all applicable laws. If such early
        termination will adversely impact the Service Provider’s ability to provide the Transition

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        Services, then Service Provider shall immediately notify the Master Servicer thereof, including a
        reasonably detailed description of the basis for such determination; and

                        (ii)   in the event that any employee is unable or unwilling to perform its
        responsibilities for the time period shown in Exhibit B, the Service Provider shall promptly
        notify the Master Servicer thereof in writing, and then the Master Servicer and the Service
        Provider shall negotiate reasonably and in good faith to promptly replace such employee and/or
        modify the related Transition Service(s). In such event, the scope and cost of the related
        Transition Service(s) shall be adjusted accordingly, as reasonably determined by the Master
        Servicer and the Service Provider.

                        3.2.3 The amount of (a) the “overhead costs” and “collection related expenses”
        incurred by the Service Provider in the provision of the Transition Services, in each case as
        included in Annex C, and (b) all other reasonable and documented out-of-pocket fees, liabilities,
        costs and expenses incurred, or to be incurred, by the Service Provider and its Affiliates in the
        provision of the Transition Services (such fees, liabilities, costs and expenses contemplated by
        this clause (b), collectively, “Out-of-Pocket Costs”); provided that (i) all such material Out-of-
        Pocket Costs (including, without limitation, those incurred or expected to be incurred in the
        defense of any lawsuit arising out of the Accounts, including related attorneys’ fees and expenses
        and settlement costs and fees and the terms of any settlement) shall be subject to the Master
        Servicer’s written approval (not to be unreasonably withheld, conditioned or delayed), which
        approval (or disapproval) shall be communicated in writing to the Service Provider within two
        (2) Business Days of a request for such approval and promptly funded to the Service Provider
        following any such approval, and (ii) the Service Provider shall not be obligated to incur or pay
        any Out-of-Pocket Costs that have not been approved in writing and funded by the Master
        Servicer. Notwithstanding anything to the contrary herein, the Out-of-Pocket Costs shall not be
        subject to, or considered in calculating, the Maximum Fee.

                3.3     Payments in Advance. The Master Servicer shall pay the Service Provider the
        amounts payable under Section 3.2.1, Section 3.2.2 and Section 3.2.3 each month in advance on
        the Closing Date and on the same calendar day of each succeeding calendar month during the
        Transition Period (or, as to any such calendar day that is not a Business Day, the next succeeding
        Business Day) in the amounts reflected in Annex C (giving effect to the adjustments thereto from
        time to time as contemplated by this Agreement and/or otherwise mutually agreed upon between
        the Master Servicer and the Service Provider), other than material Out-of-Pocket Costs which
        shall be funded, if approved, in accordance with Section 3.2.3. If the Service Provider has failed
        to deliver the schedule contemplated by Section 3.4 and/or the Master Servicer and the Service
        Provider have not agreed upon a revised Annex C based on such schedule, in each case by the
        date upon which a payment would otherwise be due under this Section 3.3, then the Master
        Servicer will pay the same total amount (for the amounts reflected in Annex C) that the existing
        Annex C contemplated for the upcoming month.

                3.4   Schedule of Amounts. At least five (5) Business Days prior to each date upon
        which a payment is scheduled to be due under Section 3.3, the Service Provider shall use
        reasonable best efforts to provide the Master Servicer with a schedule of the amounts reflected in
        Annex C and all Out-of-Pocket Costs that the Service Provider reasonably believes in good faith
        will be due and owing by the Master Servicer to the Service Provider under this Agreement for

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        the following month. The Master Servicer shall promptly review such costs and either approve
        them or notify the Service Provider of any disputed amounts. The parties shall then work in
        good faith to promptly resolve any disputes; provided that notwithstanding any such dispute, the
        Master Servicer shall be obligated to make the payment required by Section 3.3 for the following
        month.

               3.5    Interest. Any undisputed payments under this Agreement that are not made on or
        before the applicable due date shall bear interest at a rate equal to the lesser of (a) two percent
        per annum above the Prime Rate, as reported in the print edition of The Wall Street Journal,
        Eastern Edition, on the date such payment was due or, if unavailable, on the latest date prior to
        the payment due date on which such rate is available and (b) the maximum rate permitted under
        applicable Law, calculated on a daily basis, based on the actual number of days elapsed from the
        payment due date to the date of actual payment.

                3.6    True Up. Within thirty (30) days after the end of each month during the
        Transition Period, the Master Servicer and the Service Provider will mutually determine the
        actual amounts payable to the Service Provider for the Transition Services provided during such
        month pursuant to Section 3.2.1, Section 3.2.2 and Section 3.2.3 (each such amount, the “Actual
        Payment”). Each of the Master Servicer and the Service Provider shall work in good faith and in
        a commercially reasonable manner in connection with each such determination. If the sum of the
        amount of Out-of-Pocket Costs actually paid by the Master Servicer to the Service Provider
        pursuant to Section 3.2.3(b) for such month plus the amount actually paid by the Master Servicer
        to the Service Provider pursuant to Section 3.3 for such month (collectively, the “Monthly
        Payment”) exceeds the Actual Payment for such month, then the Service Provider will promptly
        (and in any event within two (2) Business Days) pay such excess to the Master Servicer;
        provided that, if the Service Provider fails to do so, the Master Servicer may instead reduce the
        next payment or payments due from the Master Servicer to the Service Provider pursuant to
        Section 3.3 by the amount of such excess. If the Actual Payment exceeds the Monthly Payment,
        the Master Servicer will pay promptly (and in any event within two (2) Business Days) such
        excess to the Service Provider.

                3.7     Inability to perform Transition Services. The amounts shown in Annex C are
        intended to be a good faith cost estimate prepared by the Service Provider. If at any time
        following the date hereof the actual costs (excluding Out-of-Pocket Costs) incurred by the
        Service Provider in providing the Transition Services in accordance herewith, in the aggregate,
        would exceed the Maximum Fee (as such amount may have been previously adjusted in
        accordance with this Section 3.7 or Section 3.8), then, notwithstanding anything to the contrary
        contained in this Agreement, the Service Provider shall not be obligated to thereafter provide
        further Transition Services that cost in excess of such specified dollar amount unless the Master
        Servicer agrees in writing to bear and pay such additional costs.

                3.8    Potential Adjustments. Notwithstanding the foregoing or anything to contrary
        herein, on or about October 31, 2017, the Service Provider shall engage in good faith discussions
        with respect to the Transition Services provided to date, and to be provided for the remainder of
        the Transition Period, the fees and Out-of-Pocket Costs associated therewith, and the Maximum
        Fee. The parties may elect to negotiate an amendment in writing to Annex B, Annex C or the
        amount of the Maximum Fee, in each case in connection with such discussions. In addition, if

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        for any reason (including the occurrence any Force Majeure Event) before or after such
        discussions, the Transition Services to be provided to the Master Servicer increase or decrease in
        scale or in scope in a material way in comparison to those provided to the Master Servicer as
        expressly provided for in this Agreement (including the responsibilities in Annex B), the parties
        shall negotiate in good faith such amendment(s) as may be necessary in order to reflect such
        modified scale or scope of the Transition Services. The Service Provider shall not be obligated
        to provide the increased scale, scope and fees of services if the parties hereto do not, despite
        using their respective good faith efforts, enter into any such amendment. The Service Provider
        and the Master Servicer shall act reasonably and use good faith efforts to promptly reach
        agreement upon any such amendment.

                 3.9    License to Acquired Assets. The Master Servicer hereby grants, and shall cause
        its Affiliates to grant, if applicable, the Service Provider and its Affiliates with a fully paid,
        worldwide, royalty free and non-transferable license to utilize, during the Transition Period, any
        assets acquired by the Master Servicer and/or its Affiliates from the Service Provider and/or its
        Affiliates in the Acquisition and related transactions (including the Acquired Assets (other than
        the Accounts)), to the extent that the Master Servicer and the Service Provider agree that the
        utilization thereof is necessary to perform the Transition Services hereunder; provided, however,
        that to the extent such a license would conflict with the rights of any third party, then the Master
        Servicer shall, and shall cause its Affiliates to, make other commercially reasonable
        arrangements with respect to the applicable acquired assets sufficient to enable the Service
        Provider to provide the Transition Services hereunder. In furtherance of the foregoing, the
        Master Servicer shall, and shall cause its Affiliates to, execute any agreement, instrument or
        other documentation reasonably requested by the Service Provider in connection with the
        foregoing license.

                 3.10   Taxes.

                       3.10.1 The amounts payable by the Master Servicer to the Service Provider
        pursuant to this Agreement (“Payments”) shall not be reduced on account of any Taxes unless
        required by applicable Law. The Service Provider alone shall be responsible for paying any and
        all Taxes (other than withholding Taxes required to be paid by the Master Servicer out of
        amounts otherwise payable to the Service Provider hereunder) levied on account of, or measured
        in whole or in part by reference to, any Payments it receives. The Master Servicer shall deduct
        or withhold from the Payments any Taxes that it is required by applicable Law to deduct or
        withhold, and all such amounts deducted and withheld shall be treated for purposes of this
        Agreement (including, without limitation, Section 3.1) as having been paid to the Service
        Provider. Notwithstanding the foregoing, if the Service Provider is entitled under any applicable
        Tax treaty to a reduction in the rate of, or the elimination of, or recovery of, applicable
        withholding Tax, it shall timely deliver to the Master Servicer and/or the appropriate
        Governmental Entity (with the reasonable assistance of the Master Servicer to the extent that this
        is reasonably required and is expressly requested in writing), as applicable, the prescribed forms
        necessary to reduce the applicable rate of withholding or to relieve the Master Servicer of its
        obligation to withhold Tax, and the Master Servicer shall apply the reduced rate of withholding,
        or dispense with the withholding, as the case may be, to the extent it complies with the
        applicable Tax treaty. If, in accordance with the foregoing, the Master Servicer withholds any
        amount, it shall make timely payment to the proper Tax authority of the withheld amount and

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        send to the Service Provider proof of such payment as soon as reasonably practicable following
        that payment. The Service Provider shall execute and deliver such documents and information to
        the Master Servicer, and take such other actions, as may be necessary or reasonably requested by
        the Master Servicer from time to time to enable the Master Servicer to collect withholding taxes
        in respect of Payments in accordance with applicable law.

                        3.10.2 Notwithstanding anything to the contrary contained in this Section 3.10.2
        or elsewhere in this Agreement, the following shall apply with respect to Indirect Taxes. All
        Payments are stated exclusive of Indirect Taxes. If any Indirect Taxes are chargeable in respect
        of any Payments for which the Service Provider is accountable, the Master Servicer shall pay
        such Indirect Taxes at the applicable rate in respect of any such Payments following the Master
        Servicer’s receipt of an Indirect Taxes invoice issued in the appropriate form and in reasonable
        detail by the Service Provider in respect of those Payments, such Indirect Taxes to be payable on
        the due date of the payment of the Payments to which such Indirect Taxes relate or at the time
        such Indirect Taxes are required to be collected by the Service Provider, in the case of payment
        of Indirect Taxes to the Service Provider; provided, however, that payment thereof by the Master
        Servicer shall in no event be due prior to the fifth (5th) Business Day following the Master
        Servicer’s receipt of the invoice therefor in accordance with this Section 3.10.2. The parties
        hereto shall issue invoices for all goods and services supplied under this Agreement consistent
        with Indirect Tax requirements, and to the extent any invoice is not initially issued in an
        appropriate form, the Master Servicer shall promptly inform the Service Provider and shall
        cooperate with the Service Provider to provide such information or assistance as may be
        necessary to enable the issuance of such invoice consistent with Indirect Tax requirements. Each
        of the Master Servicer and the Service Provider shall execute and deliver such documents and
        information to the other, and take such other actions, as may be necessary or reasonably
        requested by the other from time to time to enable the other to comply with applicable law
        relating to Indirect Taxes in connection with the transactions contemplated by this Agreement.

                3.11 This Section 3 shall survive any termination of this Agreement with respect to
        services performed pursuant to this Agreement for which the Service Provider has not yet been
        paid in full.

        4.       REPRESENTATIONS AND WARRANTIES

               The Service Provider represents and warrants to the Buyer and the Master Servicer as
        follows:

                4.1     Organization. The Service Provider is duly incorporated, validly existing and (in
        the jurisdictions recognizing the concept) in good standing under the Laws of the jurisdiction in
        which the Service Provider is incorporated. The Service Provider is licensed or qualified to do
        business in each jurisdiction where the conduct or nature of its business or the ownership, leasing
        or holding of its properties makes such qualification necessary and has the requisite power and
        authority to own, lease and operate its properties and to conduct its business as it is now being
        conducted, except, in each case, where such failure, individually or in the aggregate, would not
        reasonably be expected to materially adversely affect the performance of this Agreement.




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                4.2    Qualification; Due Authorization; Power and Authority. Subject to entry of the
        Confirmation Order, the Service Provider and the Debtors’ Representative have all power and
        authority to execute and deliver this Agreement, and any other agreements contemplated hereby,
        to consummate the transactions contemplated hereby and to comply with the terms, conditions
        and provisions hereof applicable to the Service Provider or the Debtors’ Representative, as
        applicable. The making, execution, delivery and, subject to entry of the Confirmation Order,
        performance of this Agreement and the consummation by the Service Provider and the Debtors’
        Representative of the transactions contemplated hereby have been duly and validly authorized by
        all necessary corporate action of the Service Provider and the Debtors’ Representative, as
        applicable. This Agreement has been duly and validly executed and delivered by the Service
        Provider and the Debtors’ Representative and, assuming the due authorization, execution and
        delivery hereof and thereof by the Buyer and the Master Servicer, this Agreement (subject to
        entry of the Confirmation Order) will constitute the valid and binding obligations of the Service
        Provider and the Debtors’ Representative, enforceable against the Service Provider and the
        Debtors’ Representative, as applicable, in accordance with their respective terms (except as such
        enforcement may be limited by insolvency, reorganization, moratorium, receivership,
        conservatorship and by general equity principles).

                4.3      Consents and Approvals. Subject to confirmation of the Plan, neither the
        execution and delivery of this Agreement or any other agreements contemplated hereby by the
        Service Provider, nor the consummation of the transactions contemplated hereby, will (a) require
        any consent, approval, authorization, registration or filing under any Law to which the Service
        Provider is subject; (b) require the consent or approval of any other party to, or conflict with,
        result in any breach of, or constitute a default (or an event that, with notice or lapse of time or
        both, would become a default) under, any Contract to which the Service Provider is a party;
        (c) give rise to a right of termination, cancellation or acceleration of any obligation or to loss of a
        material benefit under any agreement or other instrument to which the Service Provider is a
        party, or result in the creation of any Security Interests or Encumbrances upon any of the
        properties or assets of the Service Provider or (d) conflict with or result in a violation or breach
        of, or default under, any provision of the certificate of incorporation, operating agreement, by-
        laws or other organizational documents of the Service Provider or the Debtors’ Representative;
        in each case, other than (i) on or after the Petition Date, the Bankruptcy Court and the Canadian
        Court, (ii) authorizations, consents, orders or approvals of, or registrations or declarations with,
        any Governmental Entity set forth on Section 4.3 of the SquareTwo Disclosure Schedule, that
        have been or will be obtained or made prior to or on the Closing Date and (iii) where the failure
        to obtain such consents, approvals, authorizations or registrations or to make such filings would
        not be material to the Service Provider. Any such authorization, consent, approval, order,
        registration or declaration that has been obtained, effected or given is in full force and effect as
        of the date hereof. Except as a result of the commencement of the Bankruptcy Cases and the
        Canadian Cases, the Service Provider is not in default under, and no event has occurred that with
        the lapse of time or action by a third party could result in a default under, the terms of any
        judgment, order, writ, decree, Permit or license of any Governmental Entity where such default
        would be material to the Service Provider.

        5.   DISCLAIMER OF WARRANTIES. THE SERVICE PROVIDER DOES NOT
        MAKE ANY REPRESENTATIONS OR WARRANTIES, EXPRESS OR IMPLIED, WITH
        RESPECT TO THE MERCHANTABILITY OR FITNESS FOR A PARTICULAR PURPOSE

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        OF ANY SERVICES PROVIDED HEREUNDER. For the avoidance of doubt, the foregoing
        shall in no event be deemed to modify the Services Standard.

        6.       GOOD FAITH COOPERATION

                6.1    Intent of the Parties. The Master Servicer agrees that this Agreement does not
        create a fiduciary relationship, partnership, joint venture or relationship of trust or agency
        between the Master Servicer, on the one hand, and the Service Provider, on the other hand, and
        that all Transition Services are being provided by the Service Provider as an independent
        contractor. Without limiting the foregoing, each party hereto shall be an independent contractor
        in the performance of its obligations hereunder. No third party, including any employee of any
        party or any of such party’s Affiliates, shall have or acquire any rights by reason of this
        Agreement.

               6.2     Cooperation. Each party hereto shall act in good faith and use commercially
        reasonable efforts to cooperate with each other in order to achieve the benefits expected and to
        resolve any problems that may occur in a commercially reasonable way. As part of that
        cooperation:

                       (i)     the Service Provider agrees that it shall, at the reasonable direction of the
        Master Servicer and consistent with past practices, supervise the activities of its and its
        respective Affiliates’ officers, employees and representatives with respect to the Transition
        Services and the performance of its other obligations hereunder;

                       (ii)    the Service Provider shall maintain books and records relevant to the
        provision of the Transition Services and the performance of its other obligations hereunder in a
        manner consistent with the continuing needs of the Master Servicer (such records to include,
        without limitation, (A) traditional and customary collection notes, payment information, and
        other documents related to the servicing of the Accounts, and (B) documents reasonably
        necessary to substantiate the costs related to the payments due to the Service Provider hereunder)
        and will make such books and records available to the Master Servicer upon the Master
        Servicer’s reasonable request;

                       (iii) the Master Servicer shall provide to the Service Provider and its Affiliates
        and shall use commercially reasonable efforts to cause any third-party service providers who
        provide Transition Services, at no cost to the Service Provider, access to the respective facilities,
        assets and books and records of the Master Servicer, in all cases to the extent reasonably
        necessary for the Service Provider to fulfill its obligations under this Agreement; and

                         (iv)     the Master Servicer may, at its sole and absolute discretion, elect to have
        its Affiliates or its or their employees or third parties perform any act otherwise agreed herein to
        be performed by the Service Provider, and such action shall not terminate or modify this
        Agreement; provided, however, that the Service Provider shall be relieved with respect to its
        obligations hereunder to the extent that Transition Services are performed by or at the direction
        of the Master Servicer and also to the extent that such acts impede, prevent or make the provision
        of the applicable Transition Service materially more costly or difficult to the Service Provider.



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        7.       INDEMNIFICATION AND LIMITATION OF LIABILITY

                7.1    The Master Servicer shall indemnify, defend and hold the Service Provider, its
        Affiliates, and the officers, directors, managers and employees of the Service Provider and its
        Affiliates harmless from and against any and all Master Servicer-Related Losses.

                7.2     The Service Provider shall indemnify, defend and hold the Master Servicer and its
        Affiliates, and their respective officers, directors, managers and employees, harmless from and
        against any and all Service Provider-Related Losses.

                7.3     None of the Service Provider, its Affiliates or any employees or agents of the
        Service Provider or its Affiliates shall be liable to the Master Servicer, its Affiliates or any third
        party claiming through the Master Servicer or any of its Affiliates for, and the Master Servicer,
        on behalf of itself, its Affiliates and all third parties claiming through the Master Servicer or any
        of its Affiliates, releases and forever discharges the Service Provider, its Affiliates and any
        employees or agents of the Service Provider and its Affiliates from, any and all Losses arising
        out of or connected with any act or omission of the Service Provider, its Affiliates or any
        employees or agents of the Service Provider or its Affiliates pursuant to this Agreement or with
        respect to the Transition Services, other than Service Provider-Related Losses.

                7.4     None of the Master Servicer, its Affiliates or any employees or agents of the
        Master Servicer or its Affiliates shall be liable to the Service Provider, its Affiliates or any third
        party claiming through the Service Provider or any of its Affiliates for, and the Service Provider,
        on behalf of itself, its Affiliates and all third parties claiming through the Service Provider or any
        of its Affiliates, releases and forever discharges the Master Servicer, its Affiliates and any
        employees or agents of the Master Servicer and its Affiliates from, any and all Losses arising out
        of or connected with any act or omission of the Master Servicer, its Affiliates or any employees
        or agents of the Master Servicer or its Affiliates pursuant to this Agreement or with respect to the
        transactions contemplated hereby, other than Master Servicer-Related Losses.

              7.5 NOTWITHSTANDING ANYTHING TO THE CONTRARY CONTAINED IN
        THIS AGREEMENT AND WITHOUT LIMITING THE FOREGOING, TO THE FULLEST
        EXTENT PERMITTED BY APPLICABLE LAW AND EXCEPT AS A RESULT OF FRAUD,
        MISREPRESENTATION, WILLFUL MISCONDUCT, BAD FAITH OR GROSS
        NEGLIGENCE IN CONNECTION WITH MATTERS COVERED HEREIN OR IF ANY OF
        THE FOLLOWING IS PAID OR PAYABLE PURSUANT TO A THIRD PARTY CLAIM,
        NEITHER THE MASTER SERVICER NOR THE SERVICE PROVIDER SHALL BE LIABLE
        TO THE OTHER OR THEIR AFFILIATES FOR ANY CLAIMS, DEMANDS OR SUITS FOR
        CONSEQUENTIAL, INCIDENTAL, SPECIAL, EXEMPLARY, PUNITIVE, INDIRECT OR
        MULTIPLE DAMAGES, FOR LOSS OF PROFITS, REVENUE OR INCOME, DIMINUTION
        IN VALUE OR LOSS OF BUSINESS OPPORTUNITY (IN EACH CASE, WHETHER OR
        NOT FORESEEABLE AT THE EFFECTIVE DATE), OR FOR ANY DAMAGES
        CALCULATED BY REFERENCE TO A MULTIPLIER OF REVENUE, PROFITS, EBITDA
        OR SIMILAR METHODOLOGY, CONNECTED WITH OR RESULTING FROM ANY
        BREACH OF THIS AGREEMENT, OR ANY ACTIONS UNDERTAKEN IN CONNECTION
        WITH OR RELATED HERETO, INCLUDING ANY SUCH DAMAGES WHICH ARE
        BASED UPON BREACH OF CONTRACT, TORT (INCLUDING NEGLIGENCE AND

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        MISREPRESENTATION), BREACH OF WARRANTY, STRICT LIABILITY, STATUTE,
        OPERATION OF LAW OR ANY OTHER THEORY OF RECOVERY.

               7.6     In the event that the Master Servicer has the right to a payment from the Service
        Provider under Section 7.2, each of the Buyer and the Debtors’ Representative will execute as
        soon as reasonably practicable a Joint Instruction Letter directing the Escrow Agent to promptly
        disburse to the Buyer an amount equal to the related Losses in the amount agreed upon by the
        Master Servicer and the Service Provider, up to and including the then-remaining Post-Closing
        Escrow Amount. In the event that the Master Servicer and the Service Provider cannot agree on
        the amount of the Losses, the dispute resolution process further defined in Section 2.4 of the Plan
        Funding Agreement shall apply.

                 7.7   This Section 7 shall survive any termination of this Agreement.

        8.       GENERAL PROVISIONS

                8.1     Notice of Breach and Termination. In the event of a material breach of this
        Agreement by the Master Servicer, on the one hand, or the Service Provider, on the other hand,
        the party claiming the breach shall give notice of such breach to the other party, which shall have
        fifteen (15) calendar days to cure such breach or, if such breach is capable of cure within a
        commercially reasonable period of time but cannot reasonably be expected to be cured within
        fifteen (15) calendar days, shall have fifteen (15) calendar days to undertake all available and
        appropriate action to begin the cure of the breach and shall proceed as promptly as possible
        thereafter to effect the cure. In the event of such cure in accordance with the immediately
        preceding sentence, the notice of breach shall be rescinded. If, however, the breach is not cured
        as set forth herein, the party claiming the breach may then pursue any and all remedies available
        to it based on such uncured breach, including but not limited to the right to terminate this
        Agreement effective on a date of termination prior to the end of the relevant service periods
        established by the non-breaching party. A breaching party shall be entitled to no more than one
        cure period as set forth herein with respect to any one breach.

               8.2    Notices. Any notice or other communication required or permitted to be given
        hereunder shall be in writing and shall be given, and shall be effective and deemed received, in
        the same manner as provided in the Plan Funding Agreement. Such notice or other
        communication shall be addressed in accordance with the contact information set forth on
        Schedule 8.2 hereto or, as to any party hereto, in accordance with such other contact information
        as such party may from time to time specify by giving notice to the other parties hereto in
        accordance herewith.

                8.3     Successors and Permitted Assigns. This Agreement shall be binding upon and
        inure solely to the benefit of each party hereto and its successors and permitted assigns. Nothing
        in this Agreement is intended to confer upon any other person any rights or remedies of any
        nature whatsoever under or by reason of this Agreement except as expressly set forth herein.

               8.4    Assignment. No party hereto may assign any of its rights or obligations
        hereunder without the prior written consent of the other parties hereto. Notwithstanding the
        preceding, the parties hereto acknowledge and agree that the Buyer and each Affiliate of the


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        Buyer (including the Master Servicer) may assign one or more of the Acquired Assets to its
        Affiliates, and such Acquired Assets shall remain subject to the services contemplated by this
        Agreement except to the extent that such assignment impedes or prevents the Service Provider
        from performing its obligations hereunder; provided that any such assignment shall not relieve
        the Master Servicer of its obligations under this Agreement.

                8.5      Remedies. Except as otherwise expressly provided herein, none of the remedies
        set forth in this Agreement is intended to be exclusive, and each party hereto shall have all other
        remedies now or hereafter existing at law or in equity or by statute or otherwise, and the election
        of any one or more remedies shall not constitute a waiver of the right to pursue other available
        remedies.

                8.6     Headings; Terms. The headings contained in this Agreement are solely for the
        purpose of reference, are not part of the agreement of the parties hereto and shall not in any way
        affect the meaning or interpretation of this Agreement. Unless otherwise indicated, any
        reference in this Agreement to a section or subsection refers to the specified section or
        subsection of this Agreement. Any reference in this Agreement to a “day” or a number of “days”
        (without the explicit qualification of “business”) shall be interpreted as a reference to a calendar
        day or number of calendar days. If any action or notice is to be taken or given on or by a
        particular calendar day, and such calendar day is not a Business Day, then such action or notice
        shall be deferred until or may be taken or given, on the next Business Day.

                8.7    Amendment and Modification. This Agreement may be amended, modified,
        supplemented, waived or otherwise modified or terminated only by written agreement of the
        parties hereto. No waiver of any provision of this Agreement shall constitute a waiver of any
        other provision, nor shall any waiver constitute a continuing waiver unless otherwise provided.

                8.8     Severability. Any provision of this Agreement that is prohibited, invalid or
        unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
        prohibition, invalidity or unenforceability without invalidating or rendering unenforceable the
        remaining provisions hereof. Any such prohibition, invalidity or unenforceability in any
        jurisdiction shall not invalidate or render unenforceable such provision in any other jurisdiction.
        Upon any such determination that a provision of this Agreement is prohibited, invalid or
        unenforceable in whole or in part, the judicial body making such determination shall have the
        power to modify such provision so as to effect the original intent of the parties as closely as
        possible.

                8.9     Counterparts; PDF Facsimile Signatures. This Agreement may be executed and
        delivered (including by facsimile transmission or sent by email in portable document format
        (PDF)) in two or more counterparts, all of which shall be considered one and the same agreement
        and shall become effective when one or more counterparts have been signed by each of the
        parties hereto and delivered to the other parties hereto, it being understood that all parties hereto
        need not sign the same counterpart.

             8.10 Governing Law. ALL QUESTIONS CONCERNING THE CONSTRUCTION,
        VALIDITY, ENFORCEMENT AND INTERPRETATION OF THIS AGREEMENT SHALL
        BE GOVERNED BY THE LAW OF THE STATE OF NEW YORK, WITHOUT GIVING


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        EFFECT TO ANY CHOICE OF LAW OR CONFLICT OF LAW PROVISION OR RULE
        (WHETHER OF THE STATE OF NEW YORK OR ANY OTHER JURISDICTION) THAT
        WOULD CAUSE THE APPLICATION OF THE LAWS OF ANY JURISDICTION OTHER
        THAN THE STATE OF NEW YORK.

                8.11 Jurisdiction. With respect to any suit, action or proceeding arising out of or
        relating to this Agreement (“Proceeding”), each party hereto hereby irrevocably:

                      (i)     submits to the exclusive jurisdiction of the Bankruptcy Court, for any
        Proceeding arising out of or relating to this Agreement and the transactions contemplated hereby
        (and agrees not to commence any Proceeding relating hereto except in such court) and waives
        any objection to venue being laid in the Bankruptcy Court whether based on the grounds of
        forum non conveniens or otherwise; and

                        (ii)   consents to service of process in any Proceeding by the mailing of copies
        thereof by registered or certified mail, postage prepaid, or by recognized international express
        carrier or delivery service, to any party hereto in accordance with Section 8.2 hereof; provided,
        however, that nothing herein shall affect the right of any party hereto to serve process in any
        other manner permitted by Law.

              8.12 Waiver of Jury Trial. TO THE EXTENT NOT PROHIBITED BY
        APPLICABLE LAWS, EACH OF THE PARTIES HERETO HEREBY IRREVOCABLY
        WAIVES AND COVENANTS THAT IT SHALL NOT ASSERT (WHETHER AS PLAINTIFF,
        DEFENDANT OR OTHERWISE), ANY RIGHT TO TRIAL BY JURY IN ANY FORUM IN
        RESPECT OF ANY ISSUE, CLAIM, DEMAND, ACTION OR CAUSE OF ACTION
        ARISING IN WHOLE OR IN PART UNDER, RELATED TO, BASED ON, OR IN
        CONNECTION WITH, THIS AGREEMENT OR THE SUBJECT MATTER HEREOF,
        WHETHER NOW EXISTING OR HEREAFTER ARISING AND WHETHER SOUNDING IN
        TORT OR CONTRACT OR OTHERWISE. ANY PARTY HERETO MAY FILE AN
        ORIGINAL COUNTERPART OR A COPY OF THIS SECTION 8.12 WITH ANY COURT AS
        WRITTEN EVIDENCE OF THE CONSENT OF EACH SUCH PARTY TO THE WAIVER OF
        ITS RIGHT TO TRIAL BY JURY.

                8.13 Lack of Authority. Except to the extent contemplated by Section 8.15 hereof, no
        party hereto shall have the authority to commit any other party hereto to any binding obligation
        or to execute, on behalf of any other party hereto, any agreement, lease or other document
        creating legal obligations on the part of the other party, and no party shall represent to any third
        party that it has such authority.

                 8.14 Force Majeure. Neither party hereto shall be liable for any failure to perform or
        any delays in performance, and no such party shall be deemed to be in breach or default of its
        obligations set forth in this Agreement, if, to the extent and for so long as, such failure or delay is
        due to any causes that are beyond its reasonable control and without its fault or negligence and
        the fault or negligence of its Affiliates, including such causes as acts of God, natural disasters,
        fire, flood, severe storm, earthquake, civil disturbance, lockout, riot, order of any court or
        administrative body, embargo, acts of government, war (whether or not declared), acts of
        terrorism, or other similar causes, but excluding, for the avoidance of doubt, bankruptcy,


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        insolvency, insufficient liquidity and similar events and conditions (“Force Majeure Event”).
        In the event of a Force Majeure Event, the party hereto prevented from or delayed in performing
        shall promptly give notice to the other party hereto and shall use commercially reasonable efforts
        to avoid or minimize the delay. In the event that the delay continues for a period of at least
        30 days, the party hereto affected by the other party’s delay may elect to suspend performance,
        extend the time for performance for the duration of the Force Majeure Event and/or terminate
        this Agreement.

                8.15 Debtors’ Representative. All decisions, actions, consents and instructions of the
        Debtors’ Representative shall be final and binding upon SquareTwo and its Subsidiaries, and
        each and every creditor of SquareTwo and its Subsidiaries, and neither SquareTwo nor any of its
        Subsidiaries shall have any right to object, dissent, protest or otherwise contest the same. A
        decision, act, consent or instruction of the Debtors’ Representative in writing shall constitute a
        decision of all of SquareTwo and its Subsidiaries and shall be final, binding and conclusive upon
        each of SquareTwo and its Subsidiaries, and the Buyer and the Master Servicer may rely
        (without any obligation for further inquiry, and disregarding any dispute between the Debtors’
        Representative and SquareTwo or any of its Subsidiaries) upon any decision, act, consent or
        instruction of the Debtors’ Representative in writing as being the decision, act, consent or
        instruction of each of SquareTwo and each of its Subsidiaries. Each of the Buyer and the Master
        Servicer is hereby relieved from any liability to any Person for any acts done by it in accordance
        with such decision, act, consent or instruction of the Debtors’ Representative in writing. Any
        notice or communication delivered to the Debtors’ Representative shall be deemed to have been
        delivered to SquareTwo and its Subsidiaries for all purposes hereof. Notwithstanding the
        foregoing, from and after the filing of the Bankruptcy Cases or the Canadian Cases, respectively,
        the decisions of the Debtors’ Representative shall not be binding on SquareTwo and its
        Subsidiaries until Bankruptcy Court or Canadian Court approval is granted, if such Bankruptcy
        Court or Canadian Court approval, respectively, is required by Law.

                                            [Signature Page Follows]




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                                          J.B. Richardson , Jr.
                                          President and Chief Executive Officer




                                           J.B. Richardson , Jr.
                                          Chief Operating Officer
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                                         J.B. Richardson, Jr.
                                         Chief Operating Officer




                                          J.B. Richardson, Jr.
                                         Authorized Signatory
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                                                   ANNEX A

                                                ACQUIRED ASSETS


        -Inbound phone numbers (toll or toll-free) used to handle inbound consumers calls.

        -Post office boxes used for payments or inbound consumer correspondence.

        -Business logic and templates used to create consumer correspondence.

        -Copies of all original seller files.

        -Copies of all databases developed by S2 and used to evaluate, load, validate or service
        consumer accounts.

        -Electronic copies of all documents relating to consumer accounts owned or serviced by S2 and a
        mapping file to associate those documents to the original consumer account.

        -Internet domain names, logos, trademarks and other web assets related to the S2 entities to be
        acquired.

        -Bank accounts associated with the S2 entities to be acquired.




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                                                  ANNEX B

                                            TRANSITION SERVICES

        This schedule is contained in the Excel spreadsheet entitled “S2OpsTransition_externalv4.xlsx”,
        as sent by Jon Mazzoli (jmazzoli@sfg.com), on behalf of the Master Servicer, to J.B.
        Richardson, Jr. (jbrichardson@squaretwofinancial.com), on behalf of the Service Provider, by e-
        mail at 7:13 p.m., Eastern Standard Time, on March 1, 2017, a copy of which is hereby
        incorporated by reference.




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                                                                              ANNEX C

                                                    ESTIMATED COST OF TRANSITION SERVICES


                                                     Jun‐17          Jul‐17     Aug‐17       Sep‐17        Oct‐17        Nov‐17      Dec‐17      Total
        Collection Related Expenses
                                            1
             Other Purchased Debt Expenses                1,071          853         743          640          458            479         252          4,496

        Personnel and Overhead Costs
          Personnel
                                 Operations                   202        202         323          168          168             335      1,021          2,418
                                           IT                 390        390         390          719          255             806        496          3,446
                        Customer Experience                     60        60          60           60           60             141        104            546
                                Compliance                      49        49          49          179            ‐               ‐          ‐            325
                                     Finance                    52        52          63           76           29              29        151            451
                           Human Resources                      28        28          28           47           22              22        104            278
                                        Legal                    6         6           6            6            6               6         27             65
                         Management Center                    ‐            ‐           ‐            ‐            ‐               ‐          ‐              ‐
                                 Fresh View                      8         4           ‐            ‐            ‐               ‐          ‐             11
                             Total Personnel                  794        790         919        1,255          541           1,339      1,903          7,540
          Overhead                                            438        386         623          423          355             592        388          3,205

        Total Personnel and Overhead                      1,231         1,176      1,542        1,678          896           1,931      2,291         10,745

        Admin Fee                                             150        150         150          150          150            150         150          1,050

                                   2
        Collection Support Total                          1,381         1,326      1,692        1,828         1,046          2,081      2,441         11,795

        Monthly TSA Cash Flow Need                        2,452         2,179      2,434        2,468         1,504          2,560      2,693         16,291

        1
          Other purchased debt expenses includes other operating expenses (media, skip tracing, etc.), and technical support. These expenses, while
        included, may be paid by the buyer if more efficient to do so.

        2
            Collection support represents personnel, overhead, and admin fees which represent TSA costs.


                             Lease Term Costs                                                                  Variance Reconciliation
                                             IT           1,461                                         Monthly TSA Cash Flow Need ‐ Original         18,539
                                         Non‐IT             878                                                   Bonus Pro‐Rate Adjustment             (506)
                                                3
                     Total Term Lease Payments            2,339                                                       50% Severance Adjustment        (1,096)
                                                                                                                               PTO Adjustment           (646)
        3
            Excludes buy‐out costs.                                                                     Adjusted Monthly TSA Cash Flow Need           16,291




        The parties acknowledge and agree that the schedule of personnel and their respective costs, as included
        in the Excel file named “Copy of Sherman TSA Model – v11.xlsx” and sent by Mark Thorson
        (MThorson@alixpartners.com) to the Master Servicer by e-mail at 11:57 a.m., Eastern Standard Time, on
        February 24, 2017, are a part of this Annex C, and such file is hereby incorporated by reference.




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